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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


United States of America
                                                                           Decision and Order
                 v.
                                                                                16-CR-13A
Duane Loyd,

                                        Defendant.


          On September 28, 2017, defendant Duane Loyd filed a motion under seal (Dkt. No. 78) to

suppress certain evidence that the Government would produce against him at trial. The

Government has responded to the motion (Dkt. No. 83) and opposes suppression. At oral

argument on October 23, 2017, the Government reiterated its overall opposition but conceded

that defendant is entitled to a hearing with respect to some of the issues that the motion has

raised.

          After reviewing the motion papers and considering the points raised at oral argument, the

Court agrees that a hearing is warranted. The Court also agrees with the Government that

defendant’s own motion has, at a minimum, satisfied the initial inquiry as to whether defense

counsel has a conflict of interest—if not for trial then at least for purposes of resolving the motion.

See United States v. Kliti, 156 F.3d 150, 153 (2d Cir. 1998); United States v. Levy, 25 F.3d 146, 153

(2d Cir. 1994) (“When a district court is sufficiently apprised of even the possibility of a conflict of

interest, the court first has an ‘inquiry’ obligation.”) (citations omitted). Whether a conflict exists

should be addressed before turning to the substance of defendant’s motion.
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       The Court will hold a Curcio hearing on November 16, 2017 at 10:00 AM. Meanwhile,

the Court will arrange for appointment of Curcio counsel and will encourage that counsel to

consult with defendant before November 16 if possible. Speedy-trial time remains excluded

because pretrial motions remain pending.

       SO ORDERED.

                                             __/s Hugh B. Scott________
                                             Hon. Hugh B. Scott
                                             United States Magistrate Judge
DATED: November 1, 2017




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